                     Case 1:07-cr-00046-GJQ
     AO 472 Order of Detention Pending Trial
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                           WESTERN DISTRICT OF MICHIGAN
     UNITED STATES OF AMERICA             ORDER OF DETENTION
             V.                           PENDING TRIAL
     RONALD LAVAR JOHNSON                                                                      Case Number:         1:07-CR-46

            In accordance with the Bail Reform Act, 18 U.S.C.§3142(f), a detention hearing has been held. I conclude that the following facts
     require the detention of the defendant pending trial in this case.
                                                                   Part I - Findings of Fact
              (1)      The defendant is charged with an offense described in 18 U.S.C. §3142(f)(1) and has been convicted of a (federal
                       offense) (state or local offense that would have been a federal offense if a circumstance giving rise to federal jurisdiction had
                       existed) that is
                             a crime of violence as defined in 18 U.S.C.§3156(a)(4).
                             an offense for which the maximum sentence is life imprisonment or death.
                             an offense for which the maximum term of imprisonment of ten years or more is prescribed in

                              a felony that was committed after the defendant had been convicted of two or more prior federal offenses described in 18
                              U.S.C.§3142(f)(1)(A)-(C), or comparable state or local offenses.
             (2)      The offense described in finding (1) was committed while the defendant was on release pending trial for a federal, state or local
                      offense.
             (3)      A period of not more than five years has elapsed since the (date of conviction) (release of the defendant from imprisonment) for
                      the offense described in finding (1).
             (4)      Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition or combination of conditions will reasonably
                      assure the safety of (an)other person(s) and the community. I further find that the defendant has not rebutted this
                      presumption.
                                                                     Alternate Findings (A)
             (1)      There is probable cause to believe that the defendant has committed an offense
                             for which a maximum term of imprisonment of ten years or more is prescribed in
                             under 18 U.S.C.§924(c).
             (2)      The defendant has not rebutted the presumption established by finding 1 that no condition or combination of conditions will
                      reasonably assure the appearance of the defendant as required and the safety of the community.
                                                                     Alternate Findings (B)
     ✘       (1)      There is a serious risk that the defendant will not appear.
             (2)      There is a serious risk that the defendant will endanger the safety of another person or the community.
                     Defendant has a lengthy criminal record both as a juvenile and as an adult. In particular, he has a number of failures to
                     appear, as follows: (continued on attachment)




                                           Part II - Written Statement of Reasons for Detention
I find that the credible testimony and information submitted at the hearing establishes by a preponderance of the evidence that
   no condition or combination of conditions will assure the defendant's presence in court. Notwithstanding defendant's recent
   cooperation, he has a long established pattern of disregarding court dates. While the court would like to believe that his
   recent cooperation shows that he has turned over a new leaf, the remainder of his recent criminal record suggests otherwise.
   The defendant failed to appear on an order to show cause as recently as last October, (continued on attachment)
                                                      Part III - Directions Regarding Detention
       The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a corrections
  facility separate, to the extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The
  defendant shall be afforded a reasonable opportunity for private consultation with defense counsel. On order of a court of the United States
  or on request of an attorney for the Government, the person in charge of the corrections facility shall deliver the defendant to the United
  States marshal for the purpose of an appearance in connection with a court proceeding.


    Dated:         March 16, 2007                                                               /s/ Hugh W. Brenneman, Jr.
                                                                                                                        Signature of Judicial Officer
                                                                                              Hugh W. Brenneman, United States Magistrate Judge
                                                                                                                     Name and Title of Judicial Officer

          *Insert as applicable: (a) Controlled Substances Act (21 U.S.C. §801 et seq. ); (b) Controlled Substances Import and Export Act (21 U.S.C. §951 et seq. ); or
    (c) Sectlon 1 of Act of Sept. 15, 1980 (21 U.S.C. §955a).
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Alternate Findings (B) - (continued)

May 22, 2003          Failed to appear for settlement conference                Order to show cause issued
December 18, 2003     Failed to appear for a hearing                            Bench warrant issued
March 16, 2004        Failed to appear for a hearing                            Bench warrant issued
June 1, 2004          Defendant failed to appear for sentencing                 Bench warrant issued
Sept. 10, 2004        Defendant failed to appear                                Bench warrant issued

Defendant also failed to appear on 3 of the above dates in regard to a different case in the same court, for which
warrants were apparently issued as well.

Oct. 9, 2003         Failed to complete his work crew hours                     Remanded to jail
March 22, 2004       Failed to appear for arraignment                           Order to show cause issued
June 1, 2004         Failed to appear for sentencing                            Bench warrant issued
Oct. 27, 2004        Failed to complete work crew hours                         Remanded to jail
March 15, 2004       Failed to appear on order to show cause                    Bench warrant issued
Oct. 3, 2006         Failed to appear for order to show cause                   Bench warrant issued
Feb. 13, 2007        Failed to appear for presentence interview                 Order to show cause issued

At the present time, defendant has a sentencing pending for a recent stalking conviction on February 12, 2007, and
has new charges of carrying a concealed weapon and possession of controlled substances now pending in the Kent
County Circuit Court.

Following his apprehension by federal authorities, defendant did cooperate in running some controlled buys, and did
appear when he was told an arrest warrant was pending for him. He has some employment, is a life-long resident of
the city, and has had a residence with another person for the past 4 months.




Part II - Written Statement of Reasons for Detention - (continued)

and was found guilty of the failure to appear and put in jail and fined as recently as January 26, 2007. He picked up a
stalking charge on January 17, 2007 for which he was convicted on February 12, 2007. He failed to appear for his
presentence interview on the latter charge the following day, and has an order to show cause pending for that failure.
In addition, he has new felony charges pending in the Kent County Circuit Court as recently as January 25, 2007.
While defendant should be given recognition for the recent cooperation with federal authorities, and his willingness to
appear on one occasion when directed to do so, his criminal record as a whole, and in particular his failures to appear,
preclude releasing him.
